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                                 EXHIBIT C
                                 O'Connell Declaration




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                                  IN THE UNITED STATES BANKRUPTCY COURT

                                             FOR THE DISTRICT OF DELAWARE


In re:                                                                                )        Chapter 1 1
                                                                                      )
W.R. GRACE & CO., et al.,l                                                            )        Case No. 01-1139 (JKF)
                                                                                      )        (Jointly Administered)
                                   Debtors.                                           )

DECLARATION OF JOHN JAMES O'CONNELL III IN SUPPORT OF DEBTORS' MOTION
 FOR ENTRY OF AN ORDER AUTHORIZING THE DEBTORS TO (A) ENTER INTO EXIT
  FINANCING ENGAGEMENT LETTERS; (B) PAY CERTAIN FEES AND EXPENSES IN
CONNECTION THEREWITH; AND (C) FILE THE ENGAGEMENT LETTERS UNDER SEAL

            I, John James O'Connell III, declare as follows:

            1. I am over the age of 18 and competent to testify. I am a Managing Director of


Blackstone Advisory Parners L.P. ("Blackstone"), an affiiate of                                     The Blackstone Group L.P., the

Debtors' financial advisor, which has offces at 345 Park Avenue, New York, New York 10154.

            2. I am generally familar with the Debtors' business affairs and restructuring


negotiations. Blackstone has served as financial advisor to the Debtors since April                                   2001 and I



1 The Debtors consist of
                           the following 62 entities: W. R. Grace & Co. (fla Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (flka Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fla Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (fla Grace Cocoa Limited Parters
I, Inc.), G C Management, Inc. (fla Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Driling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (fla Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a
GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings Corporation), MR Intermedco, Inc. (fla Nestor-
BNA, Inc.), MRA Staffng Systems, Inc. (f/a British Nursing Association, Inc.), Remedium Group, Inc. (f/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/a Cross Countr
Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.



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have been personally involved in advising the Debtors since July 2004. This declaration is based

on my personal knowledge, relevant documents that I have reviewed, information that has been

supplied to me by employees of the Debtors or by other professionals retained by the Debtors,

and my expert opinions. If called upon to testify, I could and would testify competently to the

facts and opinions contained in this declaration.

           3. I submit this declaration in support of                 the Debtors' motion (the "Motion") for

entry of an order authorizing the Debtors to (a) enter into two engagement letters providing for a

"best efforts" engagement to provide exit financing (the "Engagement Letters") by Goldman,

Sachs & Co. ("GS&Co."), Goldman Sachs Lending Partners LLC ("GS Lending Partners") and

Deutsche Bank Securities Inc. ("DBSI") (together with GS&Co. and GS Lending Partners, the

"Exit Lenders"); (b) pay certain fees and expenses in connection therewith; and (c) fie the

Engagement Letters under seal.

           4. Over the last two years, the Debtors and Blackstone have maintained a dialogue


with prospective lenders concerning the terms and structuring of an exit financing package. In

May 2009, the Debtors and Blackstone launched a formal competitive process to solicit exit

financing proposals from leading financial institutions. This process included management

meetings, due diligence sessions and other activities to enable prospective lenders to submit

preliminary indications of interest in leading or participating in an exit financing for the Debtors.

Certain prospective lenders were then invited to a second round of discussions based on the

terms of     their initial proposals. After additional due diligence, second-round lenders submitted

new proposals. The Debtors and their advisors then began negotiating the terms and conditions

of a potential exit financing commitment.


2 Capitalized terms used herein and that are not otherwise defined herein shall have the meaning given to them in

    the Motion.


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           5. Despite the progress in obtaining exit financing commitments, the Debtors, in


consultation with Blackstone, decided not to enter into a commitment. Instead, in October 2009,

the Debtors decided to consider engaging certain ofthe second-round prospective lenders to act

as lead bookrunners, lead arangers, and/or lead underwiters, lead initial purchasers and lead

placement agents for the eventual exit financing on a "best efforts" basis.

            6. The decision to forgo a full commitment and instead engage certain lenders in


connection with a "best efforts" financing was based on: (1) the relatively high costs associated

with bans having to commit capital for an uncertain period of                        time; and (2) the Debtors'

determination that it would be in the best interests of their estates to have greater flexibility on a

"best efforts" basis than the Debtors would otherwise have in a committed facilty.

            7. After deliberation and discussion with their advisors, the Debtors ultimately


determined that the Engagement Letters embodied the most appropriate proposaL. The Debtors,

Blackstone and representatives of                     the Arrangers and the Investment Banks conducted arm's-

length negotiations in good faith that resulted in modifications to the terms of the original

engagement proposals that were favorable to the Debtors.

            8. I believe the fees and expenses associated with the Exit Facilties are reasonable


market terms for the Debtors under these circumstances.

            9. Notably, the expertise of                        the Arangers and the Investment Bans is paricularly

important to a successful exit financing in light of the volatility experienced in the credit markets

in recent years. While the credit markets have improved during the course of2009, they remain

difficult to forecast. The depth and breadth of market knowledge, experience and contacts

provided by the Arangers and Investment Bans wil be helpful in dealing with evolving credit

markets. Moreover, the Debtors wil benefit by having the Arangers and Investment Bans



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involved in financing-related activities at this stage in order to avoid any potential delays in

consummating the exit financing after legal issues in the reorganization process have been

resolved. The Debtors expect that the Arangers and Investment Bars wil assist in a number of

important endeavors including, among others, drafting confidential memoranda, assisting in the

preparation of rating agency presentations, conducting lender meetings and conducting road

shows.

            10. I believe the Exit Lenders would not have agreed to provide the Exit Facilities


without the required conditions stated in the Engagement Letters including, among other things,

the Break-up Fees, expense reimbursement obligations and indemnification obligations. In my

opinion, it is in the Debtors' best interest to agree to such fees and expenses in order to secure the

Exit Lenders' "best efforts" financing.

            1 1 . I understand that effectuating the transactions contemplated by the Plan depends,


in large par, on securing exit financing. To that end, I believe that the proceeds expected to be

obtained from the Exit Facilities wil allow the Debtors to consummate the transactions under the

Plan.

            12. Thus, because I believe that the Exit Lenders would not have agreed to provide


the Exit Facilities without the required Break-up Fees, expense reimbursement obligations and

indemnification obligations, and because I believe that the Exit Facilties are necessary to

consummate the Plan and to the Debtors' ultimate emergence from chapter 11 and future

success, I believe that the fees and expenses outlined in the Engagement Letters are necessary to

preserve the value of     the Debtors' estates.

            13. F or all of the reasons set forth above, I believe that the Debtors' entry into the

Engagement Letters and corresponding payment of fees and expenses set forth therein is in the



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Debtors' sound business judgment and is in the best interest of the Debtors' estates and their

creditors. Pursuant to 28 U.S.c. § 1746, I declare under penalty of                     perjury under the laws of   the

United Sates of America that the foregoing is true and correct.

January 15,2010

                                                                      Isl John James 0 'Connell III
                                                                      John James O'Connell III
                                                                      Managing Director
                                                                      Blackstone Advisory Partners L.P.

                                                                      Financial Advisor for the Debtors and Debtors in
                                                                      Possession




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